Case 3:22-cv-00226-DJH Document 1 Filed 04/25/22 Page 1 of 9 PageID #: 1
Case 3:22-cv-00226-DJH Document 1 Filed 04/25/22 Page 2 of 9 PageID #: 2
Case 3:22-cv-00226-DJH Document 1 Filed 04/25/22 Page 3 of 9 PageID #: 3
Case 3:22-cv-00226-DJH Document 1 Filed 04/25/22 Page 4 of 9 PageID #: 4
Case 3:22-cv-00226-DJH Document 1 Filed 04/25/22 Page 5 of 9 PageID #: 5
Case 3:22-cv-00226-DJH Document 1 Filed 04/25/22 Page 6 of 9 PageID #: 6
Case 3:22-cv-00226-DJH Document 1 Filed 04/25/22 Page 7 of 9 PageID #: 7
Case 3:22-cv-00226-DJH Document 1 Filed 04/25/22 Page 8 of 9 PageID #: 8
Case 3:22-cv-00226-DJH Document 1 Filed 04/25/22 Page 9 of 9 PageID #: 9
